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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA


                                        Alexandria Division



UNITED STATES OF AMERICA,

       Plaintiff,

V.                                                       Case No. I:I9-cr-99


CHRISTOPHER WARREN LAPP,

       Defendant.


                                              ORDER


       On consideration of the unopposed motion of Lisa Lapp, duly appointed administrator of

the estate of the late Christopher Lapp, by counsel, for an order expressly granting her counsel

leave to share sealed records on a confidential and need-to-know basis with third parties, and it

appearing just and proper to do so, it is hereby

       ORDERED that counsel for Lisa Lapp may share sealed records from this case, on an as-

needed and confidential basis, with his client, with forensic experts whose assessments will be

sought as part of counsel's evaluation of the case, with personnel at or representing Butner FCI,

the Marshals Service, the Alexandria Adult Detention Center {"ADC")and the Alexandria

Community Services Board, and such other persons and entities as counsel believes need to see

them in aid of the proper litigation or non-litigious resolution of possible civil claims arising out

of the death of Dr. Lapp.


Alexandria Virginia
Dated: September         2021
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